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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

W.R. Grace & Co., et al., Case No. 01-01139 (JKF)

(Jointly Administered)

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Debtors.

Attachments to Memorandum in Support of the Claimants’ Motion to Exclude
Dr. R.J. Lee’s Opinion on Cleavage Fragments

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2 R.J. Lee Report (Apr. 15, 2003)

3 Excerpts from OSHA Proposed Asbestos Standard (1992)

4 Excerpts from R. J. Lee Deposition (June 6, 2003)

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